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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


CLARE LOCKE LLP,
                                                    Civil Action No. ________________
               Petitioner,
       v.

KYTCH, INC.,

               Respondent.


  PETITION AND MOTION TO CONFIRM EMERGENCY ARBITRATION AWARD

       1.      Pursuant to 9 U.S.C. § 9, Petitioner Clare Locke LLP brings this petition and

motion to confirm an emergency, interim arbitration award that preserves the status quo and

protects Clare Locke’s attorneys’ liens on a multi-million-dollar settlement until Clare Locke’s

claim for attorneys’ fees and costs owed by its former client, Kytch, Inc., can be arbitrated.

       2.       Clare Locke is proud of the work it performed for Kytch, which is poised to settle

claims that Clare Locke investigated, developed, and litigated on Kytch’s behalf for three years.

Kytch discharged Clare Locke in October 2023 and owes Clare Locke millions of dollars in

attorneys’ fees and costs that Clare Locke advanced on Kytch’s behalf. When Kytch would not

respond to Clare Locke’s invoices, Clare Locke filed attorneys’ liens on Kytch’s pending claims

to ensure that the law firm would be paid its fees in quantum meruit, as required by Virginia law.

Clare Locke also initiated an arbitration before the American Arbitration Association (AAA) to

resolve the attorneys’ fee dispute, in accordance with the parties’ three written agreements.

       3.      Shortly after Clare Locke filed its arbitration demand, Kytch began advising the

courts overseeing its lawsuits—but not Clare Locke—that it had reached a tentative settlement

with the defendants and was working to document that agreement. When Clare Locke sought
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transparency into the status of the settlement to ensure that its claim for attorneys’ fees—which

have been secured with valid attorneys’ liens—would be recognized and any settlement proceeds

from the now-defunct Kytch would be protected, Kytch demurred, obfuscated, and refused to put

into an enforceable writing any such assurances.

       4.       Accordingly, Clare Locke sought interim, injunctive relief to maintain the status

quo, to keep Kytch from settling out from under Clare Locke without paying what it owed, and

to provide Clare Locke some transparency into the status of the settlement negotiations.

Consistent with the AAA Commercial Arbitration Rules and Mediation Procedures, which

govern the parties’ arbitration, AAA appointed an Emergency Arbitrator, who convened two

hearings and accepted written and oral submissions from both parties before issuing a Decision

and Order on Claimant’s Request for Emergency Injunctive Relief (the “Emergency Award”)

that largely granted Clare Locke’s application.

       5.       Given Kytch’s continued intransigence—it continues to attack the Emergency

Award without basis and refuses to recognize the Emergency Arbitrator’s authority—Clare

Locke seeks to confirm that Emergency Award. Clare Locke is simultaneously continuing to

arbitrate its dispute with Kytch, per the parties’ agreement, in the ongoing AAA arbitration.

                                          THE PARTIES

       6.       Petitioner Clare Locke is a Virginia limited liability partnership with its principal

place of business at 10 Prince Street, Alexandria, VA 22314. Thomas A. Clare and Elizabeth M.

Locke, the law firm’s founders and only equity partners, are citizens of the Commonwealth of

Virginia. Clare Locke’s non-equity partners are citizens of Florida, Maryland, Tennessee, Texas,

and Virginia.




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       7.      Defendant Kytch, Inc. is a Delaware corporation with its principal place of

business in Alameda County, California.

                                 JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332 because the dispute is between citizens of different states and the amount in controversy

exceeds $75,000 exclusive of attorneys’ fees, interest, and costs. As the Emergency Arbitrator

recognized, Clare Locke incurred more than $7 million in attorneys’ fees that it is seeking to

recover from Kytch, and the merits arbitrator could (and should) award Clare Locke even more

than $7 million if the arbitrator determines that the reasonable value of the firm’s legal services

in quantum meruit exceeds that amount. Additionally, Clare Locke seeks to recover on a breach

of contract claim for hundreds of thousands of dollars of litigation expenses that Kytch was

obligated to pay, but did not.

       9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events giving rise to this action occurred in this district at Clare Locke’s

office in Alexandria, Virginia, which is where Kytch approached Clare Locke for the provision

of legal services, where Clare Locke performed the majority of the legal services for Kytch,

where Kytch three times entered into a contract for such services under Virginia law, where

Kytch three times agreed to arbitrate any disputes with Clare Locke, and where Kytch

communicated with Clare Locke. Further, pursuant to the parties’ three agreements to arbitrate

in Virginia, the AAA sited the arbitration in Virginia, the hearing before the Emergency

Arbitrator that led to the award that Clare Locke seeks to confirm is therefore legally deemed to

have been held in Virginia, and the arbitral award is legally deemed to have been entered in

Virginia.




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                                    FACTUAL ALLEGATIONS

I.      The Clare Locke-Kytch Relationship

        10.     Clare Locke focuses its practice on bringing defamation actions on behalf of high-

profile clients facing reputational attacks in the media. Clare Locke represented Kytch for three

years of hard-fought litigation in federal and state courts against major corporations represented

by sophisticated counsel. Starting in November 2020, after Kytch allegedly suffered existential

harm from defamation, breach of contract, theft of trade secrets, and related torts, Clare Locke

attorneys took up the fight for Kytch’s survival, devoting more than 10,000 hours, more than $7

million of legal fees, and countless long days and late nights to investigating the case, filing

claims, surviving motions to dismiss, taking extensive discovery, identifying experts, and filing a

summary judgment motion. It was an extraordinary litigation effort, especially for a boutique

firm, and Clare Locke looked forward to securing a large verdict for Kytch and a contingency fee

for itself either through settlement or at trial.

        11.     Clare Locke and Kytch entered into three different engagement letters, all

governed by Virginia law and calling for the mandatory arbitration of any disputes between them

before AAA in Virginia. The three engagement letters between Clare Locke and Kytch, attached

in redacted form as Exhibits A through C, each require that “[a]ny controversy or claim arising

out or of relating to [that] agreement or [Clare Locke’s] representation of [Kytch] . . . shall be

settled by arbitration in Virginia administered by the American Arbitration Association.” Ex. A

at 4; Ex. B at 5–6; Ex. C at 6.1 It further provides that “[t]he designated arbitrator(s) shall have

the authority to award any and all relief that would otherwise be available in a court of law, and

judgment on any award may be entered in any court of competent jurisdiction.” Ex. A at 4; Ex.

1
 The documents and relevant procedural facts concerning the arbitration are referenced in the
Declaration of C. Bryan Wilson, which is being filed contemporaneously with this Petition.


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B at 5; Ex. C at 6. Additionally, the agreement specifies that it “shall be governed by and

interpreted in accordance with the laws of the Commonwealth of Virginia without regard to

conflict of law principles.” Ex. A at 4; Ex. B at 5; Ex. C at 6.

       12.     Following its retention, Clare Locke aggressively litigated on Kytch’s behalf in

numerous forums. Clare Locke ultimately spearheaded cases for Kytch in four courts, Kytch,

Inc. v. Gamble, No. RG21099155 (Sup. Ct. Alameda Cnty., Cal.) (the “Alameda County

Action”); Kytch v. Taylor Commercial Foodservice, LLC, No. 22-606 (D. Del.) (the “Delaware

Action”); Kytch v. Taylor Commercial Foodservice, LLC, No. 23-1810 (3d Cir.); and Kytch v.

McDonald’s Corp., No. 3:23-cv-01998-TSH (N.D. Cal.) (the “Northern District of California

Action”) (collectively, the “Kytch Litigation”).

       13.     In October 2023, however, just a few short months ahead of the scheduled trial in

the Alameda County Action, Kytch terminated Clare Locke suddenly and without cause,

depriving Clare Locke of the contingency fee it had risked so much to earn.

       14.     Kytch selected Daniel Watkins and his new law firm Meier Watkins Phillips

Pusch LLP (MWPP) to assume the role of lead counsel, preventing Clare Locke from recovering

the contingency fees that it had worked toward tirelessly for three years. MWPP had been

formed by Mr. Watkins and three other former Clare Locke non-equity partners, who abruptly

tendered their resignations from Clare Locke without warning on August 3, 2023 to launch their

competing firm. Despite switching law firms, Kytch is still using the same lawyers who used to

work at Clare Locke, now practicing under the MWPP brand, to prosecute its lawsuits. After his

no-notice departure on August 3, 2023, Mr. Watkins and MWPP hired away from Clare Locke

the other key members of the Kytch litigation team—associates Amy Roller, Hannah Menchel,

and Mark Thomson—so they could continue working on the Kytch litigation at MWPP. In this




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way, Mr. Watkins arranged for Kytch to continue benefiting from the same litigation team that

Clare Locke spent years recruiting, training, and developing, while attempting to eliminate

Kytch’s obligation to pay Clare Locke a contingency fee.

        15.     In these circumstances, both the Clare Locke-Kytch contract (on which Mr.

Watkins had worked for Clare Locke as a Clare Locke partner) and Virginia common law entitle

Clare Locke to a quantum meruit recovery reflecting the reasonable value of the legal services

provided to Kytch. A client can select counsel of its choice, but it must pay its discharged

attorneys the fair value of their services.

        16.     On October 9, 2023, just five days before terminating Clare Locke, and without

informing Clare Locke, Kytch apparently arranged for litigation funding from a third party,

which resulted in a UCC lien being filed on all of Kytch’s assets. At that time, Clare Locke was

still representing Kytch and was unaware of Kytch’s plan to terminate the firm only five days

later. In this way, Kytch arranged for a UCC lien to be placed on its assets before Clare Locke

had the opportunity to file its own lien for attorneys’ fees in November 2023 pursuant to Virginia

Code Section 54.1-3932, the merits of which will be determined in the ongoing arbitration.

II.     The Clare Locke-Kytch Arbitration

        17.     Kytch still owes Clare Locke significant fees and expenses. In light of that fact,

on March 7, 2024, Clare Locke initiated an arbitration with the American Arbitration

Association pursuant to the parties’ three engagement letters. Clare Locke served Kytch with its

demand the same day in accordance with AAA rules.

        18.     On March 11, 2024, AAA confirmed receipt of Clare Locke’s demand, assigned

the matter AAA Case Number 01-24-0002-9516, and advised the parties that the AAA

Commercial Rules would govern the proceeding, which would be sited in Virginia; that a




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telephonic Administrative Conference was scheduled for March 21, 2024; and that Kytch’s

response was due no later than March 25, 2024.

III.   Kytch’s Settlement Efforts Exclude Clare Locke, Prompting Clare Locke To Pursue
       Emergency Injunctive Relief

       19.     On March 14, 2024, however, Kytch’s lawyer, Mr. Watkins, announced in the

Northern District of California Action in a joint filing with the defendants that the parties to the

Kytch Litigation had “tentatively reached an agreement for settlement of both the Alameda

[County Action] and the N[orthern] D[istrict] of Cal[ifornia Action], which they are working to

finalize.” Kytch did not advise Clare Locke of this fact.

       20.     Then, on March 20, 2024, Clare Locke learned that the parties to the Alameda

County Action may have reached a settlement when the court entered a Notice of Hearing for a

Compliance Hearing re: Dismissal for April 25, 2024.

       21.     Upon independently learning of the putative settlement, Clare Locke sought

assurances from Kytch that Clare Locke’s attorneys’ liens would be respected and the proceeds

of any settlement would be safeguarded until the value of Clare Locke’s claims had been finally

adjudicated and paid.     Kytch failed to provide any meaningful or enforceable assurances.

Rather, Kytch objected to AAA’s jurisdiction to resolve the very disputes that it had

contractually agreed to resolve before AAA on three separate occasions.

       22.     Accordingly, on March 25, 2024, in accordance with AAA Commercial Rule 38,

Clare Locke filed a Request For Appointment of an Emergency Arbitrator and For Emergency

Injunctive Relief.

       23.     On March 26, 2024, AAA appointed Howard W. Schub as the Emergency

Arbitrator. A genuine copy of the notice appointing Emergency Arbitrator Schub is attached

hereto as Exhibit D.



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        24.     No party objected to Emergency Arbitrator Schub’s appointment by the AAA’s

deadline of March 26, 2024, and both Clare Locke and Kytch appeared before Emergency

Arbitrator Schub in connection with Clare Locke’s emergency application.

        25.     In particular, both Clare Locke and Kytch appeared through counsel for an initial

scheduling conference with the Emergency Arbitrator on March 27, 2024, though Kytch’s

counsel hung up partway through the hearing after stating that AAA lacked jurisdiction to hear

the dispute.

        26.     Following the conference, the Emergency Arbitrator issued a scheduling order

setting a hearing on the emergency application for April 2, 2024, and inviting the parties to

submit any further briefing no later than 5:00 PM on March 29, 2024.

        27.     Clare Locke timely submitted a supplemental brief in support of its application.

Kytch chose not to do so by the March 29, 2024 deadline.

        28.     On April 2, 2024, the Emergency Arbitrator held a telephonic hearing at which

both parties were represented through counsel.       Shortly before the hearing began, Kytch

submitted an untimely letter to AAA, which the Emergency Arbitrator nonetheless considered.

During the hearing, both sides were permitted to argue their respective positions and answered

questions from the Emergency Arbitrator. Kytch continued to object to AAA’s authority to hear

the dispute.

        29.     In addressing Clare Locke’s application, the Emergency Arbitrator and AAA

complied with the parties’ arbitration agreements and the applicable AAA Commercial Rules in

all respects.

IV.     The Emergency Arbitrator Awards Clare Locke Emergency Injunctive Relief

        30.     Following the April 2, 2024 hearing, the Emergency Arbitrator issued the

Emergency Award, which AAA delivered to the parties the same day. A genuine copy of the


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Emergency Award is attached hereto as Exhibit E, and a genuine copy of the email delivering the

Emergency Award to the parties (without the attachment) is attached hereto as Exhibit F. The

Emergency Arbitrator granted in part and denied in part Clare Locke’s application.

       31.     In the Emergency Award, the Emergency Arbitrator considered and rejected

several jurisdictional and/or arbitrability objections that Kytch had raised. In particular, the

Emergency Arbitrator found that Kytch “has stated an objection to [the Emergency Arbitrator’s]

jurisdiction” but “has not explained the basis for its objection or cited to any facts or legal

authority in support of its objection.” Emergency Award at 5. “Nor does [Kytch] assert that it

was not properly served with notice of these arbitration proceedings or [Clare Locke’s] request

for emergency relief.”    Id.   After reviewing the relevant arbitration agreements and Clare

Locke’s claims, the Emergency Arbitrator decided to “overrul[e] [Kytch]’s objection to my

jurisdiction and to consider the request for emergency relief.”       Id. at 6.   The Emergency

Arbitrator further found that California’s Mandatory Fee Arbitration Act, which Kytch had

belatedly invoked and claimed mandated a stay of the arbitration proceedings, did not apply to

Clare Locke. Id. at 6–8. In particular, the Emergency Arbitrator found Kytch’s “position

regarding a stay of this arbitration to be unconvincing and unsupported.” Id. at 8.

       32.     On the merits of the application, the Emergency Arbitrator found that Clare Locke

had “stated a prima facie claim for relief and demonstrated a likelihood of success” on its

quantum meruit claim. Emergency Award at 9. The Emergency Arbitrator also found “there

does not appear to be any dispute that settlements are in the works, that settlement proceeds will

be available to [Kytch] under the settlements or that [Kytch] has not yet agreed to or submitted a

stipulated order in the Kytch Litigation agreeing not to disburse any settlement funds.




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Accordingly, there is a risk that [Clare Locke] will suffer irreparable harm absent injunctive

relief.” Id. (footnotes omitted).

       33.     Based on these findings and conclusions, the Emergency Award “direct[ed] Kytch

to immediately provide [Clare Locke] with the Settlement Documents [as defined above] and, if

not yet final, drafts or term sheets describing the material terms of the agreements; (ii) direct[ed]

[Clare Locke] and its counsel to keep the Settlement Documents confidential and use them only

as needed to resolve [Clare Locke]’s disputes with Kytch and related actors; and

(iii) preliminarily enjoin[ed] Kytch and its officers, agents, servants, employees, attorneys, and

other persons in active concert or participation with them from dismissing any of the cases in the

Kytch Litigation and/or dispersing, encumbering, and/or dissipating any settlement funds

received in the Alameda County Action, the Delaware Action or the Northern District of

California Action from the date of this Decision and Order up to and until 45 days following

[Clare Locke]’s receipt of the last of the Settlement Documents along with a certification under

penalty of perjury from an officer of Kytch that all such documents in their complete, final form

have been provided,” and “(iv) awarding all costs associated with the application for emergency

relief (including arbitration and arbitrator fees) in [Clare Locke]’s favor and against [Kytch].”

Emergency Award at 10–11.

       34.     Following entry of the Emergency Award, Clare Locke sought Kytch’s

compliance with the Emergency Award, including its obligation to “immediately” provide Clare

Locke the Settlement Documents. But Kytch has yet to produce any documents to Clare Locke.

Instead, Kytch continues to assert baseless objections to the Emergency Award and refuses to

acknowledge its validity or the Emergency Arbitrator’s authority.




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                           LEGAL STANDARDS AND ARGUMENT

         35.    Through the Federal Arbitration Act, Congress encouraged the resolution of

disputes through arbitration.    As part of this policy, “[t]he scope of judicial review of an

arbitration award ‘is among the narrowest known at law.’” UBS Fin. Servs., Inc. v. Padussis,

842 F.3d 336, 339 (4th Cir. 2016) (quoting Apex Plumbing Supply, Inc. v. U.S. Supply Co., Inc.,

142 F.3d 188, 193 (4th Cir. 1998)) (“[T]o allow full scrutiny of such awards would frustrate the

purpose of having arbitration at all—the quick resolution of disputes and the avoidance of the

expense and delay associated with litigation.”). Upon a motion to confirm an arbitration award,

the Court’s function “may vacate or modify an arbitration award only under the limited

circumstances listed in the Federal Arbitration Act, 9 U.S.C. § 10–11, or under the common law

if the award ‘fails to draw its essence from the contract’ or ‘evidences a manifest disregard of the

law.’”    Id.; see also Warfield v. Icon Advisers, Inc., 26 F.4th 666, 669 (4th Cir. 2022)

(“Convincing a federal court to vacate an arbitral award is a herculean task”).

         36.    The obligation to confirm awards extends to emergency interim awards like the

one at issue here. See Yahoo! Inc. v. Microsoft Corp., 983 F. Supp. 2d 310 (S.D.N.Y. 2013)

(granting petition to confirm emergency arbitration award in light of “the time-sensitive nature of

[the plaintiff’s] compliance with the injunction”); S. Seas Nav. Ltd. v. Petroleos Mexicanos, 606

F. Supp. 692, 694 (S.D.N.Y. 1985) (“[I]f an arbitral award of equitable relief based upon a

finding of irreparable harm is to have any meaning at all, the parties must be capable of

enforcing or vacating it at the time it is made.”).

         37.    By statute, the Court “must grant” an order confirming the award unless the

respondent shows:

         (1) [T]he award was procured by corruption, fraud, or undue means;




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       (2) [T]here was evident partiality or corruption in the arbitrators, or either of them;

       (3) [T]he arbitrators were guilty of misconduct in refusing to postpone the hearing, upon

       sufficient cause shown, or in refusing to hear evidence pertinent and material to the

       controversy; or of any other misbehavior by which the rights of any party have been

       prejudiced; or

       (4) [T]he arbitrators exceeded their powers, or so imperfectly executed them that a

       mutual, final, and definite award upon the subject matter submitted was not made.

9 U.S.C. §§ 9, 10.

       38.       The exclusive grounds for modification of an award are as follows:

       (1) Where there was an evident material miscalculation of figures or an evident material

       mistake in the description of any person, thing, or property referred to in the award.

       (2) Where the arbitrators have awarded upon a matter not submitted to them, unless it is a

       matter not affecting the merits of the decision upon the matter submitted; or

       (3) Where the award is imperfect in matter of form not affecting the merits of the

       controversy.

9 U.S.C. § 11.

       39.       None of the circumstances described in sections 10 or 11 of the FAA exist here.

       40.       Because all requirements for confirmation have been met, the Emergency Award

should be confirmed. Given Kytch’s refusal to acknowledge the validity of the Emergency

Award or the arbitration proceeding itself, and the ongoing, imminent irreparable harm that Clare

Locke faces from Kytch, confirmation of the Emergency Award is both necessary and

appropriate.




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                                 PRAYER FOR RELIEF

       WHEREFORE, Clare Locke respectfully requests that this Court CONFIRM the

Emergency Award, enter judgment in favor of Clare Locke, and award such other relief as this

Court deems just and proper.



  Dated: April 4, 2024                     Respectfully submitted,

                                            /s/ C. Bryan Wilson
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